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          EXHIBIT L
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                               Serina Roghlien-Hood
                                   March 03, 2022

· · · · · · · · · · ·UNITED STATES DISTRICT COURT

· · · · · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA

·   ·   ·   FRANKIE GREER,· · · · · · · · · ·)
·   ·   ·   · · · · · · · · · · · · · · · · ·)
·   ·   ·   · · ·Plaintiff,· · · · · · · · · )
·   ·   ·   · · · · · · · · · · · · · · · · ·)
·   ·   ·   · · ·vs.· · · · · · · · · · · · ·)· Case No.:
·   ·   ·   · · · · · · · · · · · · · · · · ·)· 19-cv-0378-GPC-DEB
·   ·   ·   COUNTY OF SAN DIEGO, ET AL.· · · )
·   ·   ·   · · · · · · · · · · · · · · · · ·)
·   ·   ·   · · ·Defendants.· · · · · · · · ·)
·   ·   ·   _______________________________· )
·   ·   ·   AND RELATED CROSS-CLAIMS· · · · ·)

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· · · · · · · · · · VIDEOCONFERENCE DEPOSITION OF

· · · · · · · · · · · · ·SERINA ROGHLIEN-HOOD

· · · · ·PMK FOR THE COUNTY OF SAN DIEGO SHERIFF'S DEPARTMENT

· · · · · · APPEARING REMOTELY FROM SAN DIEGO, CALIFORNIA

· · · · · · · · · · · · · ·MARCH 3RD, 2022

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· · ·Reported by:· FRAN BARBER, CSR, RPR
· · · · · · · · · ·Certified Shorthand Reporter
· · · · · · · · · ·License No. 13811

· · · · APPEARING REMOTELY FROM SAN DIEGO COUNTY, CALIFORNIA


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                                   March 03, 2022

·1· ·REMOTE APPEARANCES:

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·1· · · · · · It could be, sir.

·2· · · ·Q.· ·And it's not Melanie but Melody you said,

·3· ·M-E-L-0-D-Y?

·4· · · ·A.· ·Yes.· And her last name, you're correct, it's

·5· ·L-A-S-T-R-E-L-L-A.

·6· · · ·Q.· ·You told us, as I understand it, that

·7· ·Ms. Lastrella is no longer working at the county jail

·8· ·facility?

·9· · · ·A.· ·That's correct, sir.

10· · · ·Q.· ·And to your knowledge, no longer employed by the

11· ·County of San Diego?

12· · · ·A.· ·That's correct, sir, from my knowledge.

13· · · ·Q.· ·Do you know the circumstances of her departure

14· ·from employment?

15· · · · · · MS. MITCHELL:· Objection, calls for confidential

16· ·personnel information.

17· ·BY MR. IREDALE:

18· · · ·Q.· ·You may answer that.

19· · · · · · THE WITNESS:· I can answer it?

20· · · · · · MS. MITCHELL:· No.

21· · · · · · MR. IREDALE:· There's no such -- ma'am, there's

22· ·no such privilege recognized.· Privilege is determined by

23· ·the Federal Rules of Evidence.· There is no privilege for

24· ·personnel records.

25· · · · · · MS. MITCHELL:· Do you know?


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                                   March 03, 2022

·1· · · · · · · · · · ·REPORTER’S CERTIFICATE

·2· · · · · · · I, FRAN BARBER, CSR No. 13811, Certified

·3· ·Shorthand Reporter, certify that the foregoing proceedings

·4· ·were taken remotely before me at the time and place

·5· ·therein set forth, at which time the witness was put under

·6· ·oath by me; that the testimony of the witness, the

·7· ·questions propounded, and all objections and statements

·8· ·made at the time of the examination were recorded

·9· ·stenographically by me and were thereafter transcribed;

10· ·that a review of the transcript by the deponent was

11· ·requested; that the foregoing is a true and correct

12· ·transcript of my shorthand notes so taken.

13· · · · · · · I further certify that I am not a relative or

14· ·employee of any attorney of the parties, nor financially

15· ·interested in the action.

16· · · · · · · I declare under penalty of perjury under the

17· ·laws of California that the foregoing is true and correct.

18· · · · · · · Dated this 11th day of March, 2022

19

20· · · · · · · __________________________________
· · · · · · · · · · ·FRAN BARBER, CSR NO. 13811
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23

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